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                                                             in the Middle District of
                                                                  North Carolina
                                                                 May 21,28,
                                                               September  2020
                                                                            2023
                                                                    9:25 am
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                                                             Clerk, US District Court
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